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05C 7295

No. 05 CV

  

EDWlN WARE
Pluinri`)fj‘,

_VS_
(jury demund)
CITY OF CHICAGO AND

FORMER CHICAGO POLICE OFFICER
COREY F]_.AGG,

.TUI]GE HIBB`LF.R

MAG|BTRATE JUDG[E |V|ASON

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Defendanrs.

COMPLA|NT

Plaintiff, by counsel, allege as follows:

1. This is a civil action arising under 42 U.S.C. §1983. The jurisdiction of
this court is conferred by 28 U.S.C. §1343 and by 28 U.S.C. §1367.

2. Plaintiff Edwin Ware is a resident of the Northern District of Illinois.

3. Defendant City of Chicago is an Illinois municipal corporation; plaintiff
does not assert any federal claim against the City but seeks to impose
liability on the Village pursuant to 745 ILCS 1019~102 and under the
doctrine of respondeat superior on plaintiffs’ state law malicious

prosecution claim.

4. Defendant Corey Flagg Was, at the time of the wrongdoing complained of

herein, a Chicago police officer.

5. On or about April 25, 2005, defendant Flagg arrested plaintiff, prepared a
false police report, and caused plaintiff to be prosecuted for a criminal

offense.

 

 

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6. Dcfendant Flagg did not have a lawful basis on Which to arrest plaintiff or

to cause him to be prosecuted for a criminal offense

7. The above referred criminal charge was dismissed within one year preced-
ing the filing of this action in a manner consistent with plaintiff’s inno-

CEHCB.

S. As the direct and proximate result of the above described acts, plaintiff
Was deprived of rights secured by the Fourth and Fourteenth Amendment
to the Constitution of the United States and subjected to the lllinois tort of

malicious prosecution
9. Plaintiff hereby demands trial by jury.

Wherefore plaintiff requests that judgment be entered in his favor and

against defendants in an amount in excess of one hundred thousand dollars as

fs/ Kenneth N`. Fld.M_/_

KENNETH N. FLA/%AN
ARDC NO. 330399

200 Sout.h Michigan Avenue
Sl_litc 1240

Chicago, lllinois 60604»2430

(312) 427-3200 {_phone)
(312) 427-3930 (fax)
knf@kenlaw.com (email)

compensatory damages

attorney for plaintiff

